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                                          August 25, 2022


   RE: Charlotte Flaherty v. United States of America
   Case No.: CV-20-3897-FLA-GJS

   To the Honorable Fernando L. Aenlle-Rocha,

           I am the lead counsel for Plaintiff, Charlotte Flaherty in the matter of Flaherty v. United
   States of America. Tomorrow, August 26, 2022, at 1:30 p.m., I am required to appear in-person
   for a pretrial conference. However, I and was recently diagnosed with pneumonia and I will not
   be able to appear in person. Therefore, I respectfully ask this Court to allow me to appear either
   telephonically, or by Zoom. Attached to this letter is a note signed by my doctor.

   I apologize for any inconvenience this may have caused the court, but I would genuinely
   appreciate the courtesy to appear at the pretrial conference tomorrow remotely.

   Below is my direct contact information:
   Cell Phone: (310) 525-8000
   Email: rmcelfish@mcelfishlaw.com



                                                                 Respectfully,


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                                                                 Raymond D. McElfish, Esq.
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